       Case 2:08-cr-00093-KJM Document 219 Filed 10/24/08 Page 1 of 2


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8                          UNITED STATES DISTRICT COURT
9                         EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,         ) NO: 2:08 CR-0093-FCD
11                                     )
                 Plaintiff,            ) ORDER
12                                     )
           v.                          )
13                                     )
                                       )
14   CHARLES HEAD, et al.              )
                                       )
15            Defendants.              )
     _________________________         )
16
           GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that
17
     Defendant Akemi Bottari’s pretrial release shall be modified
18
     to allow her to temporarily travel out of district as
19
     follows:
20
           a.   On November 1 thru November 2, 2008 depart and
21
           return to Los Angeles County, via automobile
22
           to/from San Diego, California to attend a friend’s
23
           birthday party.       and
24
           b.   On November 7 thru November 10, 2008, depart
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           and return to Los Angeles County, via airplane
26
           to/from San Francisco, California to attend a work
27
           function.
28

                                        - Page 1 -
      Case 2:08-cr-00093-KJM Document 219 Filed 10/24/08 Page 2 of 2


1        Defendant is further ordered to call her Pretrial
2    Services Officer for the Central District of California upon
3    her departure and return.
4        IT IS SO ORDERED.
5    DATED: October 23, 2008.
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